                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       NO. 3:09-00262
                                            )       JUDGE CAMPBELL
DARYL BORNSTEIN                             )


                                            ORDER


       Pending before the Court is a Motion for Leave to File Pleading Under Seal (Docket No.

155). The Motion is GRANTED.

       The Court will hold an exparte hearing on Defendant Bornstein’s sealed filing on

February 19, 2014 at 2:00 p.m. Defendant Bornstein and his counsel shall attend the hearing.

       IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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